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EXHIBIT 3
Case 1:22-cv-00520-MAV-JJM Document 46-5 Filed 12/21/22 Page 2 of3

From: David Rudin

To: Russ TIT, Hugh M.; Sahasrabudhe, Peter A,

Cc: Perry, Adam W.; jbrudin@rudinlaw.com; Thelo Coleman; Firsenbaum, Ross; Perio, Ryvanne; Hanft, Gideon A,;
WH Buffalo 5 Internal Team; thoover@hooverdurland.com; sdurland@hooverdurland.com

Subject: Boyd and Walker v. City, et al. - Motion to Amend Complaints

Date: Saturday, December 17, 2022 5:56:40 PM

Attachments: 2022-12-17 Bovd Amended Complaint redline.pdf
2022-12-17 Bovd Amended Complaint.pdf

2022-12-17 Walker Amended Complaint redline. pdf
2022-12-17 Walker Amended Complaint.pdf

EXTERNAL SENDER

Dear Hugh and Peter,

We plan to file a motion to amend the complaints in Boyd v. City, et al. and Walker v. City, et al. on
Monday. The amended complaints add as defendants the estates of several deceased BPD
detectives whose estates were not formed when we filed the initial complaints. It’s taken many
months to find beneficiaries of the deceased detectives and give them notice in order to provide the
probate court with jurisdiction over the estates to appoint an administrator. The new defendants
are named in the case caption and the Parties section. We also fixed some errors in the initial
complaints, including adding a description of the Boyd trial that was mistakenly omitted from the
initial Walker complaint (4]{] 642-673) and fixing some internal paragraph references. Finally, we
added to the introductions a statement by Larry Watson contained in a Cold Case file produced in
discovery.

I’ve attached redlines showing the proposed changes to the amended complaints, as well as clean
copies. Please let us know on Monday if you will consent or, if not, what your position is.

Thanks,
David

David E. Rudin

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Carnegie Hall Tower

152 West 57th Street, 8th Floor
New York, NY 10019

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Fax: (212) 980-2968
Case 1:22-cv-00520-MAV-JJM Document 46-5 Filed 12/21/22 Page 3of3

From: David Rudin

To: Jennifer C. Persico; Brian C. Mahoney

Cc: skemnitzer@lippes.com, jbrudin@rudinlaw.com; Thelo Coleman; Firsenbaum, Ross; Peri ; Hanft, Gideon
A.; WH Buffalo 5 Internal Team; thoover@hooverdurland.com; sdurland@hooverdurland.com

Subject: Boyd and Walker v. County, et al. - Motion to Amend Complaints

Date: Saturday, December 17, 2022 5:59:53 PM

Attachments: 2022-12-17 Bovd Amended Complaint redline.pdf
2022-12-17 Bovd Amended Complaint.pdf

2022-12-17 Walker Amended Complaint redline. pdf
2022-12-17 Walker Amended Complaint.pdf

EXTERNAL SENDER

Dear Ms. Persico,

We plan to file a motion to amend the complaints in Boyd v. County, et al. and Walker v. County, et
al. on Monday. The amended complaints add as defendants the estates of several deceased BPD
detectives whose estates were not formed when we filed the initial complaints. It’s taken many
months to find beneficiaries of the deceased detectives and give them notice in order to provide the
probate court with jurisdiction over the estates to appoint an administrator. The new defendants
are named in the case caption and the Parties section. We also fixed some errors in the initial
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initial Walker complaint (4]{] 642-673) and fixing some internal paragraph references. Finally, we
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